Case: 4:20-cv-01278-SRC Doc. #: 1-3 Filed: 09/18/20 Page: 1 of 36 PageID #: 8




                                                                                  Electronically Filed - St Louis County - July 08, 2020 - 11:41 AM
                                                           20SL-CC03552




                                                                      Exhibit A
Case: 4:20-cv-01278-SRC Doc. #: 1-3 Filed: 09/18/20 Page: 2 of 36 PageID #: 9




                                                                                  Electronically Filed - St Louis County - July 08, 2020 - 11:41 AM




                                                                      Exhibit A
Case: 4:20-cv-01278-SRC Doc. #: 1-3 Filed: 09/18/20 Page: 3 of 36 PageID #: 10




                                                                                  Electronically Filed - St Louis County - July 08, 2020 - 11:41 AM




                                                                      Exhibit A
Case: 4:20-cv-01278-SRC Doc. #: 1-3 Filed: 09/18/20 Page: 4 of 36 PageID #: 11




                                                                                  Electronically Filed - St Louis County - July 08, 2020 - 11:41 AM
                                                            20SL-CC03552




                                                                      Exhibit A
          Case: 4:20-cv-01278-SRC Doc. #: 1-3 Filed: 09/18/20 Page: 5 of 36 PageID #: 12


             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 20SL-CC03552
 JOSEPH SHOCKLEE DUEKER
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address
 MICHAEL CURIA                                                  SCOTT LEE KOLKER
                                                                7700 BONHOMME
                                                                STE 350
                                                          vs.   CLAYTON, MO 63105
 Defendant/Respondent:                                          Court Address:
 AMISURE INSURANCE COMPANY                                      ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Pers Injury-Vehicular                                       CLAYTON, MO 63105                                                    (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: AMISURE INSURANCE COMPANY
                                      Alias:
  R/A CHLORA LINDLEY MYERS
  301 W. HIGH STREET, ROOM 530
  JEFFERSON CITY, MO 65101

        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
                                     or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
      ST. LOUIS COUNTY               proceeding.
                                        08-JUL-2020                                           ______________________________________________
                                         Date                                                                      Clerk
                                       Further Information:
                                       MG
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years who
           permanently resides with the Defendant/Respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                   _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________            _____________________________________________
                                                                         Date                                        Notary Public




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-6102        1    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo

                                                                                                                                          Exhibit A
          Case: 4:20-cv-01278-SRC Doc. #: 1-3 Filed: 09/18/20 Page: 6 of 36 PageID #: 13

     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-6102    2    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                    54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo

                                                                                                                                Exhibit A
            Case: 4:20-cv-01278-SRC Doc. #: 1-3 Filed: 09/18/20 Page: 7 of 36 PageID #: 14
                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


CCADM73



OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-6102   3   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo

                                                                                                                               Exhibit A
           Case: 4:20-cv-01278-SRC Doc. #: 1-3 Filed: 09/18/20 Page: 8 of 36 PageID #: 15
   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




CCADM73




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-6102   4   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo

                                                                                                                               Exhibit A
Case: 4:20-cv-01278-SRC Doc. #: 1-3 Filed: 09/18/20 Page: 9 of 36 PageID #: 16




                                                                                  Electronically Filed - St Louis County - July 14, 2020 - 09:49 AM




                                                                      Exhibit A
Case: 4:20-cv-01278-SRC Doc. #: 1-3 Filed: 09/18/20 Page: 10 of 36 PageID #: 17




                                                                                   Electronically Filed - St Louis County - July 14, 2020 - 09:51 AM




                                                                       Exhibit A
Case: 4:20-cv-01278-SRC Doc. #: 1-3 Filed: 09/18/20 Page: 11 of 36 PageID #: 18




                                                                                             Electronically Filed - St Louis County - July 14, 2020 - 09:51 AM
                                               JudgeJudge      Division 4   Division 99
                                               June28,
                                               July 10,2020
                                                        2015




                                                                                 Exhibit A
           Case: 4:20-cv-01278-SRC Doc. #: 1-3 Filed: 09/18/20 Page: 12 of 36 PageID #: 19


In the
                                                                                 FILED
CIRCUIT COURT                                                                   7/30/2020
Of St. Louis County, Missouri                                               JOAN M. GILMER
                                                                             CIRCUIT CLERK
MICHAEL CURIA                             July 30, 2020
Plaintiff                                 Date                             ST. LOUIS COUNTY
vs.                                       20SL-CC03552
                                          Case Number

AMISURE INSURANCE COMPANY                 DIV14
Defendant                                 Division




                               CASE ASSIGNMENT MEMO

             ASSIGNMENT TO ASSOCIATE CIRCUIT JUDGE
             Pursuant to Local Rule 6.1, case __ assigned __ reassigned to Division for hearing and
             determination on the record under practices and procedures applicable before Circuit Judges;
             record to be made by electronic recording device.

             POST CONVICTION RELIEF MOTION
             Pursuant to Local Rule 67.7, case __ assigned __ reassigned to Division for hearing and
             determination.

      X      ASSIGNMENT TO CIRCUIT JUDGE
             Case __ assigned _X_ reassigned to Division 14 for hearing and determination.

             CASE SET FOR HEARING
             Case set for hearing on                      at                  .

                                                                So Ordered:


                                                                Honorable Michael D. Burton
                                                                Presiding Judge




AMEMO     10/18
                                                                                              Exhibit A
           Case: 4:20-cv-01278-SRC Doc. #: 1-3 Filed: 09/18/20 Page: 13 of 36 PageID #: 20


In the
                                                                                 FILED
CIRCUIT COURT                                                                   7/30/2020
Of St. Louis County, Missouri                                               JOAN M. GILMER
                                                                             CIRCUIT CLERK
MICHAEL CURIA                             July 30, 2020
Plaintiff                                 Date                             ST. LOUIS COUNTY
vs.                                       20SL-CC03552
                                          Case Number

AMISURE INSURANCE COMPANY                 DIV14
Defendant                                 Division




                               CASE ASSIGNMENT MEMO

             ASSIGNMENT TO ASSOCIATE CIRCUIT JUDGE
             Pursuant to Local Rule 6.1, case __ assigned __ reassigned to Division for hearing and
             determination on the record under practices and procedures applicable before Circuit Judges;
             record to be made by electronic recording device.

             POST CONVICTION RELIEF MOTION
             Pursuant to Local Rule 67.7, case __ assigned __ reassigned to Division for hearing and
             determination.

      X      ASSIGNMENT TO CIRCUIT JUDGE
             Case __ assigned _X_ reassigned to Division 14 for hearing and determination.

             CASE SET FOR HEARING
             Case set for hearing on                      at                  .

                                                                So Ordered:


                                                                Honorable Michael D. Burton
                                                                Presiding Judge




AMEMO     10/18
                                                                                              Exhibit A
Case: 4:20-cv-01278-SRC Doc. #: 1-3 Filed: 09/18/20 Page: 14 of 36 PageID #: 21




                                                                                   Electronically Filed - St Louis County - July 28, 2020 - 11:05 AM




                                                                       Exhibit A
         Case: 4:20-cv-01278-SRC Doc. #: 1-3 Filed: 09/18/20 Page: 15 of 36 PageID #: 22


             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 20SL-CC03552
 JOSEPH SHOCKLEE DUEKER
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address
 MICHAEL CURIA                                                  SCOTT LEE KOLKER
                                                                7700 BONHOMME
                                                                STE 350
                                                          vs.   CLAYTON, MO 63105
 Defendant/Respondent:                                          Court Address:
 AMISURE INSURANCE COMPANY                                      ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Pers Injury-Vehicular                                       CLAYTON, MO 63105                                                    (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: AMISURE INSURANCE COMPANY
                                      Alias:
  R/A CHLORA LINDLEY MYERS
  301 W. HIGH STREET, ROOM 530
  JEFFERSON CITY, MO 65101

        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
                                     or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
      ST. LOUIS COUNTY               proceeding.
                                        30-JUL-2020                                           ______________________________________________
                                         Date                                                                      Clerk
                                       Further Information:
                                       GB
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years who
           permanently resides with the Defendant/Respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                   _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________            _____________________________________________
                                                                         Date                                        Notary Public




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-6703        1    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo

                                                                                                                                          Exhibit A
         Case: 4:20-cv-01278-SRC Doc. #: 1-3 Filed: 09/18/20 Page: 16 of 36 PageID #: 23

     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-6703    2    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                    54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo

                                                                                                                                Exhibit A
           Case: 4:20-cv-01278-SRC Doc. #: 1-3 Filed: 09/18/20 Page: 17 of 36 PageID #: 24
                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


CCADM73



OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-6703   3   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo

                                                                                                                               Exhibit A
          Case: 4:20-cv-01278-SRC Doc. #: 1-3 Filed: 09/18/20 Page: 18 of 36 PageID #: 25
   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




CCADM73




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-6703   4   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo

                                                                                                                               Exhibit A
Case: 4:20-cv-01278-SRC Doc. #: 1-3 Filed: 09/18/20 Page: 19 of 36 PageID #: 26




                                                                                   Electronically Filed - St Louis County - August 06, 2020 - 12:37 PM




                                                                       Exhibit A
Case: 4:20-cv-01278-SRC Doc. #: 1-3 Filed: 09/18/20 Page: 20 of 36 PageID #: 27




                                                                                   Electronically Filed - St Louis County - August 06, 2020 - 12:37 PM




                                                                       Exhibit A
Case: 4:20-cv-01278-SRC Doc. #: 1-3 Filed: 09/18/20 Page: 21 of 36 PageID #: 28




                                                                                   Electronically Filed - St Louis County - August 06, 2020 - 12:37 PM




                                                                       Exhibit A
Case: 4:20-cv-01278-SRC Doc. #: 1-3 Filed: 09/18/20 Page: 22 of 36 PageID #: 29




                                                                                   Electronically Filed - St Louis County - August 06, 2020 - 12:37 PM




                                                                       Exhibit A
         Case: 4:20-cv-01278-SRC Doc. #: 1-3 Filed: 09/18/20 Page: 23 of 36 PageID #: 30


             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 20SL-CC03552
 KRISTINE A KERR
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address
 MICHAEL CURIA                                                  SCOTT LEE KOLKER
                                                                7700 BONHOMME
                                                                STE 350
                                                          vs.   CLAYTON, MO 63105
 Defendant/Respondent:                                          Court Address:
 Amerisure INSURANCE COMPANY                                    ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Pers Injury-Vehicular                                       CLAYTON, MO 63105
                                                                                                                                     (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: Amerisure INSURANCE COMPANY
                                      Alias:
  R/A CHLORA LINDLEY MYERS
  301 W. HIGH STREET, ROOM 530
  JEFFERSON CITY, MO 65101

        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
                                     or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
      ST. LOUIS COUNTY               proceeding.
                                        10-AUG-2020                                           ______________________________________________
                                         Date                                                                      Clerk
                                       Further Information:
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years who
           permanently resides with the Defendant/Respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                   _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________            _____________________________________________
                                                                         Date                                        Notary Public
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.
OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-7046        1    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo

                                                                                                                                          Exhibit A
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                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


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OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-7046   2   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo

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   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo

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